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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

CONVERSE INC.,
                                                      No. 21-cv-05701
               Plaintiff,
                                                      Judge Franklin U. Valderrama
v.

THE PARTNERSHIPS and
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,

               Defendants.


                            PRELIMINARY INJUNCTION ORDER

        THIS CAUSE being before the Court on Plaintiff Converse Inc.’s (“Plaintiff” or

“Converse”) Motion for Entry of a Preliminary Injunction, and this Court having heard the

evidence before it hereby GRANTS Converse’s Motion for Entry of a Preliminary Injunction in

its entirety against the fully interactive, e-commerce stores 1 operating under the seller aliases

identified in Schedule A attached hereto (collectively, the “Seller Aliases” or “Defendants”).

        THE COURT HEREBY FINDS that it has personal jurisdiction over the Defendants based

on Plaintiff’s unrebutted assertions that the Defendants directly target their business activities

toward consumers in the United States, including Illinois. Specifically, Plaintiff has provided a

basis to conclude that Defendants have targeted sales to Illinois residents by setting up and

operating e-commerce stores that target United States consumers using one or more Seller Aliases,

offer shipping to the United States, including Illinois, accept payment in U.S. dollars, and have

sold products using counterfeit and infringing versions of Converse’s federally registered




1
 The e-commerce store URLs are listed on Schedule A hereto under the Online Marketplaces.
                                                 1
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   trademarks (“Converse Trademarks”) to residents of Illinois. In this case, Plaintiff has presented

   screenshot evidence that each Defendant e-commerce store is reaching out to do business with

   Illinois residents by operating one or more commercial, interactive internet stores through which

   Illinois residents can and do purchase products using counterfeit versions of the Converse

   Trademarks. See Exhibit 3 to the Declaration of Joe Pallett (R. 15), which includes screenshot

   evidence confirming that each Defendant internet store does stand ready, willing and able to ship

   its counterfeit goods to customers in Illinois bearing infringing and/or counterfeit versions of the

   Converse Trademarks. A list of the Converse Trademarks is included in the below chart.

Registration
                              Trademark                                 Goods and Services
 Number
                                                           For: Athletic shoes of rubber and fabric in
  369,971                     ALL STAR                     class 25

                                                           For: Clothing-namely, industrial boots, rubber
                                                           boots, tennis shoes, basketball shoes, boat
                                                           shoes, general purpose athletic sneakers,
  868,375                    CONVERSE
                                                           casual shoes, jackets, trousers, parkas, shirts,
                                                           raincoats in class 25

                                                           For: Footwear in class 25
 1,206,260                    SKIDGRIP
                                                           For: All Purpose Sports Bags in class 18
 1,275,191                    ALL STAR
                                                           For: Shirts in class 25
 1,276,236                    ALL STAR
                                                           For: Footwear in class 25
 1,493,265                       CONS
                                                           For: Clothing; namely, knit T-shirts, woven
                                                           shirts, knit and woven pants, sports caps and
                                                           knit caps, and spandex exercise wear; namely,
 1,790,496                       CONS
                                                           T-shirts, sweat pants, shorts, and tank tops in
                                                           class 25

                                                           For: Clothing; namely, knit T-shirts, collar
                                                           placket shirts, woven shirts, swimwear, knit
 1,868,363                   CONVERSE
                                                           and woven shorts, knit and woven pants, tank
                                                           tops, fleece tops and bottoms, wind resistant


                                                    2
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                                               suits and jackets, sports caps and knit caps in
                                               class 25

                                               For: Computer services, namely, providing an
                                               interactive database of information on
2,453,856           CONVERSE.COM               clothing, footwear, sporting equipment and
                                               activities, and sports personalities in class 42

                                               For: Wirebound books, wirebound hardback
2,466,322              CONVERSE                books, ballpoint pens in class 16

                                               For: Footwear in class 25
2,683,548               WEAPON
                                               For: Footwear in class 25
2,807,854              ALL STAR
                                               For: Socks in class 25
2,810,717              CONVERSE
                                               For: Eyeglasses, sunglasses, all purpose sports
                                               goggles, optical frames and accessories
2,869,353              CONVERSE
                                               therefor in class 9

                                               For: Sports bags in class 18
2,872,822              CONVERSE
                                               For: Retail store services featuring footwear,
                                               clothing, sports bags and book bags in class
3,175,430              CONVERSE
                                               35

                                               For: Footwear in class 25
3,191,460              FIRST STAR
                                               For: Shoe laces in class 26
3,289,613              CONVERSE
                                               For: Footwear; clothing, namely, t-shirts, tank
                                               tops and sweat shirts, headgear, namely,
3,534,741           CHUCK TAYLOR
                                               sports caps and knit caps in class 25

                                               For: Footwear in class 25
3,847,775            STAR PLAYER
                                               For: Recording studio services; Recording
4,417,013           RUBBER TRACKS              studios in class 41

                                               For: Footwear in class 25
5,722,153              CHUCK 70




                                         3
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                                               For: Boots and shoes made of or containing
                                               rubber in class 25

121,760



                                               For: Shoes made of rubber, leather, fabric,
                                               and combinations thereof in class 25

315,273



                                               For: Rubber-soled canvas shoes for the use of
                                               men, women, and children in class 25
583,097


                                               For: Canvas-Topped, Rubber-Soled Athletic
                                               Shoes in class 25
741,662



                                               For: Basketball shoes, general purpose
                                               athletic sneakers in class 25
924,169


                                               For: Footwear-namely, rubber-soled or
                                               plastic-soled canvas shoes in class 25
938,918



                                               For: Footwear in class 25



1,078,480




                                         4
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                                               For: Footwear in class 25

1,138,468


                                               For: Footwear in class 25

1,138,469


                                               For: Footwear in class 25

1,146,876


                                               For: Shirts in class 25


1,215,935



                                               For: Socks in class 25


1,525,779



                                               For: Footwear in class 25


1,632,413



                                               For: Clothing; namely, footwear in class 25
1,654,951

                                               For: All-purpose sports bags in class 18


1,738,330




                                         5
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                                               For: Footwear in class 25


1,789,476



                                               For: Clothing; namely, knit T-shirts, collar
                                               placket shirts, knit and woven shorts, woven
1,804,563                                      pants, tank tops, fleece tops and bottoms,
                                               wind resistant suits and jackets sports caps in
                                               class 25
                                               For: Footwear in class 25

1,868,414


                                               For: Clothing; namely, T-shirts, shorts, tank
                                               tops, sweatsuits, vests, pants, jackets, and
                                               outerwear; namely, lined jackets in class 25
1,877,671




                                               For: Clothing; namely, T-shirts, shorts, tank
                                               tops, sweatsuits, vests, pants, jackets,
                                               sweaters, jeans and outerwear; namely, lined
1,981,319                                      jackets, and nylon jackets in class 25



                                               For: Headwear, namely, sport and knit hats
                                               and caps in class 25

2,063,154



                                               For: Athletic footwear, and clothing, namely,
                                               T-shirts, shorts, hats, jackets, tank tops,
                                               sweatpants and sweatshirts in class 25
2,098,296




                                         6
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                                               For: T-shirts in class 25


2,435,788



                                               For: Clothing namely, t-shirts in class 25


2,435,789



                                               For: Book bags and briefcases-style portfolios
                                               in class 18


2,466,301




                                               For: Apparel, namely, warm-up suits, shirts,
                                               pants, jackets and shorts in class 25

2,856,926



                                               For: Footwear in class 25



2,973,804




                                               For: Footwear; clothing, namely, t-shirts,
                                               short and long sleeved tops, short and long
                                               sleeved t-shirts, exercise wear, namely, sweat
3,481,708                                      suits, and headgear, namely, sports caps in
                                               class 25




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                                               For: Canvas and imitation leather topped soft
                                               soled athletic shoes and casual shoes in class
1,053,338                                      25


                                               For: Athletic footwear in class 25


1,490,262




                                               For: Athletic footwear in class 25



1,588,960




                                               For: Footwear in class 25


1,658,256



                                               For: Footwear in class 25



1,998,884




                                               For: Footwear in class 25



3,258,103




                                         8
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                                                        For: Athletic footwear in class 25




4,062,112




                                                        For: Athletic footwear in class 25



4,065,482




                                                        For: Footwear in class 25


4,398,753




        THE COURT FURTHER FINDS that injunctive relief previously granted in the

 Temporary Restraining Order (“TRO”) should remain in place through the pendency of this

 litigation and that issuing this Preliminary Injunction is warranted under Federal Rule of Civil

 Procedure 65. Evidence submitted in support of this Motion and in support of Converse’s

 previously granted Motion for Entry of a Temporary Restraining Order establishes that Converse

 has demonstrated a likelihood of success on the merits; that no remedy at law exists; and that

 Converse will suffer irreparable harm if the injunction is not granted. Specifically, Converse has

 proved a prima facie case of trademark infringement because (1) the Converse Trademarks are

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distinctive marks and are registered with the U.S. Patent and Trademark Office on the Principal

Register, (2) Defendants are not licensed or authorized to use the Converse Trademarks, and (3)

Defendants’ use of the Converse Trademarks is causing a likelihood of confusion as to the origin

or sponsorship of Defendants’ products with Converse. Furthermore, Defendants’ continued and

unauthorized use of the Converse Trademarks irreparably harms Converse through diminished

goodwill and brand confidence, damage to Converse’s reputation, loss of exclusivity, and loss of

future sales. Monetary damages fail to address such damage and, therefore, Converse has an

inadequate remedy at law. Moreover, the public interest is served by entry of this Preliminary

Injunction to dispel the public confusion created by Defendants’ actions. Accordingly, the Court

orders that:

1.       Defendants, their affiliates, officers, agents, servants, employees, attorneys, confederates,

         and all persons acting for, with, by, through, under or in active concert with them be

         temporarily and preliminarily enjoined and restrained from:

         a. using the Converse Trademarks or any reproductions, counterfeit copies or colorable

            imitations thereof in any manner in connection with the distribution, marketing,

            advertising, offering for sale, or sale of any product that is not a genuine Converse

            product or not authorized by Converse to be sold in connection with the Converse

            Trademarks;

         b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

            Converse product or any other product produced by Converse, that is not Converse’s

            or not produced under the authorization, control or supervision of Converse and

            approved by Converse for sale under the Converse Trademarks;




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         c. committing any acts calculated to cause consumers to believe that Defendants’ products

            are those sold under the authorization, control or supervision of Converse, or are

            sponsored by, approved by, or otherwise connected with Converse;

         d. further infringing the Converse Trademarks and damaging Converse’s goodwill; and

         e. manufacturing, shipping, delivering, holding for sale, transferring or otherwise moving,

            storing, distributing, returning, or otherwise disposing of, in any manner, products or

            inventory not manufactured by or for Converse, nor authorized by Converse to be sold

            or offered for sale, and which bear any of Converse’s trademarks, including the

            Converse Trademarks, or any reproductions, counterfeit copies or colorable imitations

            thereof.

2.       Upon Converse’s request, any third party with actual notice of this Order who is providing

         services for any of the Defendants, or in connection with any of Defendants’ Online

         Marketplaces, including, without limitation, any online marketplace platforms such as

         eBay, Inc. (“eBay”), AliExpress, Alibaba Group Holding Ltd. (“Alibaba”), Amazon.com,

         Inc. (“Amazon”), ContextLogic Inc. d/b/a Wish.com (“Wish.com”), and DHgate

         (collectively, the “Third Party Providers”) shall, within ten (10) business days after receipt

         of such notice, provide to Converse expedited discovery, including copies of all documents

         and records in such person’s or entity’s possession or control relating to:

         a. the identities and locations of Defendants, their agents, servants, employees,

            confederates, attorneys, and any persons acting in concert or participation with them,

            including all known contact information and all associated e-mail addresses;

         b. the nature of Defendants’ operations and all associated sales, methods of payment for

            services and financial information, including, without limitation, identifying



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            information associated with the Online Marketplaces and Defendants’ financial

            accounts, as well as providing a full accounting of Defendants’ sales and listing history

            related to their respective Online Marketplaces; and

         c. any financial accounts owned or controlled by Defendants, including their agents,

            servants, employees, confederates, attorneys, and any persons acting in concert or

            participation with them, including such accounts residing with or under the control of

            any banks, savings and loan associations, payment processors or other financial

            institutions, including, without limitation, PayPal, Inc. (“PayPal”), eBay, Alipay,

            Alibaba, Ant Financial Services Group (“Ant Financial”), Amazon Pay, Wish.com, or

            other merchant account providers, payment providers, third party processors, and credit

            card associations (e.g., MasterCard and VISA).

3.       Upon Converse’s request, those with notice of the injunction, including Third Party

         Providers as defined in Paragraph 2, shall within ten (10) business days after receipt of

         such notice, disable and cease displaying any advertisements used by or associated with

         Defendants in connection with the sale of counterfeit and infringing goods using the

         Converse Trademarks.

4.       Defendants shall be temporarily and preliminarily restrained and enjoined from

         transferring or disposing of any money or other of Defendants’ assets until further ordered

         by the Court.

5.       Any Third Party Providers, including PayPal, eBay, Alipay, Alibaba, Ant Financial,

         Wish.com, and Amazon Pay, shall, within ten (10) business days of receipt of this Order:




                                                 12
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         a. locate all accounts and funds connected to Defendants’ Seller Aliases and Online

            Marketplaces, including, but not limited to, any financial accounts connected to the

            information listed in Schedule A hereto; and

         b. restrain and enjoin any such accounts or funds from transferring or disposing of any

            money or other of Defendants’ assets until further ordered by this Court.

6.       Converse is authorized to issue expedited written discovery, pursuant to the Federal Rules

         of Civil Procedure 33, 34 and 36, related to:

         a. the identities and locations of Defendants, their agents, servants, employees,

            confederates, attorneys, and any persons acting in concert or participation with them,

            including all known contact information, including any and all associated e-mail

            addresses; and

         b. the nature of Defendants’ operations and all associated sales, methods of payment for

            services and financial information, including, without limitation, identifying

            information associated with the Online Marketplaces and Defendants’ financial

            accounts, as well as providing a full accounting of Defendants’ sales and listing history

            related to their respective Online Marketplaces.

         Converse is authorized to issue any such expedited discovery requests via e-mail.

         Defendants shall respond to any such discovery requests within three (3) business days of

         being served via e-mail.

7.       Converse may provide notice of these proceedings to Defendants, including service of

         process pursuant to Fed. R. Civ. P. 4(f)(3), and any future motions, by electronically

         publishing a link to the Complaint, this Order and other relevant documents on a website

         and by sending an e-mail to Defendants that includes a link to said website. The Clerk of



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         the Court is directed to issue a single original summons in the name of “The Partnerships

         and all other Defendants identified in the Complaint” that shall apply to all Defendants.

         The combination of providing notice via electronic publication and e-mail, along with any

         notice that Defendants receive from payment processors, shall constitute notice reasonably

         calculated under all circumstances to apprise Defendants of the pendency of the action and

         afford them the opportunity to present their objections.

8.       Schedule A to the Complaint [2], Exhibit 3 to the Declaration of Joe Pallet [15], and the

         TRO [24] are unsealed.

9.       Any Defendants that are subject to this Order may appear and move to dissolve or modify

         the Order as permitted by and in compliance with the Federal Rules of Civil Procedure and

         Northern District of Illinois Local Rules. Any third party impacted by this Order may

         move for appropriate relief.

10.      The $10,000 bond posted by Converse shall remain with the Court until a Final disposition

         of this case or until this Preliminary Injunction is terminated.

                                                        IT IS SO ORDERED.



Date: December 1, 2021
                                                        United States District Judge
                                                        Franklin U. Valderrama




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Converse Inc. v. The Partnerships and Unincorporated Associations Identified on Schedule "A" - Case No. 21-cv-
                                                   5701
                                               Schedule A
                                      Defendant Online Marketplaces
No                        URL                                        Name / Seller Alias
  1 ahxihuishoes.en.alibaba.com                           Anhui Xihui Import And Export Co., Ltd.
  2 biyate.en.alibaba.com                                 Xiamen Biyate Imp. & Exp. Co., Ltd.
                                                          Quanzhou Kangningshi Environmental
  3 calmness.en.alibaba.com                               Protection Technology Co., Ltd.
                                                          Yong 'an City Yan Nan Street Ke Dexin
  4 cnkedexin.en.alibaba.com                              Clothing Store
                                                          Xiamen Mango Fashion Shoes Trade Co.,
  5   docenfootwear.en.alibaba.com                        Ltd.
  6   gloryfootwear.en.alibaba.com                        Qingdao Glory Footwear Co., Ltd.
  7   guipaishoes.en.alibaba.com                          Zhejiang Guipai Shoes Co., Ltd.
  8   heated.en.alibaba.com                               Shenzhen Hongjiali Technology Co., Ltd
  9   hnywdf.en.alibaba.com                               Yiwu Dafeng Import And Export Co., Ltd.
 10   hotshoes.en.alibaba.com                             Taizhou Linfeng Shoes Co., Ltd.
 11   houshen.en.alibaba.com                              Wenzhou Duocheng Foreign Trade Co., Ltd.
 12   huankun.en.alibaba.com                              Yiwu Huankun International Trade Co., Ltd.
                                                          Zhaoxian Xiaoteng Medical Instrument Co.,
 13   ifanshoes.en.alibaba.com                            Ltd.
 14   insgear.en.alibaba.com                              Unique (Quanzhou) Light Industry Co., Ltd.
 15   itecshoes.en.alibaba.com                            Xiamen Itec Shoes Co., Ltd.
 16   jazbasport.en.alibaba.com                           Xiamen SMD Light Industry Co., Ltd.
 17   jeechu.en.alibaba.com                               Yiwu Jeechu Trading Co., Ltd.
 18   jerryfootprint.en.alibaba.com                       Xiamen Jerryfootprint Imp & Exp Co., Ltd.
                                                          Quanzhou Luojiang District Baitao Trading
 19   jinbeile.en.alibaba.com                             Co., Ltd.
 20   kaijunshoes.en.alibaba.com                          Wenling Kaijun Shoes Co., Ltd.
 21   kuntusi.en.alibaba.com                              Yiwu Kuntusi Shoes Co., Ltd.
 22   ljshoes150.en.alibaba.com                           Rui'an Lingjue Shoes Co., Ltd.
 23   momkids.en.alibaba.com                              Yiwu Dongtai Mom&kids Products Co., Ltd.
 24   naitejck.en.alibaba.com                             Shaoxing Naite Import And Export Co., Ltd.
                                                          Quanzhou Pinyi Zhongchuang Space Trading
 25 pinyizc.en.alibaba.com                                Co., Ltd.
 26 qijitrading.en.alibaba.com                            Yiwu Qiji Trading Co., Ltd.
 27 qzdesigndreams.en.alibaba.com                         Quanzhou Youmeng E-Commere Co., Ltd.
                                                          Quanzhou Jinhong Import And Export Co.,
 28 qzjh-sports.en.alibaba.com                            Ltd.
                                                          Quanzhou Zhiwen Hongxuan Media Culture
 29 qzwisdom.en.alibaba.com                               Co., Ltd.
 30 qzyhmy.en.alibaba.com                                 Quanzhou Yinghao Trading Co., Ltd.
                                                          Quanzhou Yunzhan Electronic Commerce
 31 qzyunzhan.en.alibaba.com                              Co., Ltd.

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                                             Quanzhou Yewei Network Technology Co.,
32 qzywwl.en.alibaba.com                     Ltd.
                                             Xiamen Zhuzhu Network Technology Co.,
33 qzzz.en.alibaba.com                       Ltd.
34 sakatrade2016.en.alibaba.com              Wenzhou Saiya Trade Co., Ltd.
35 scmskj.en.alibaba.com                     Sichuan Miaoshan Technology Co., Ltd.
                                             Quanzhou Orange Peel E-Commerce Co.,
36   shonsn.en.alibaba.com                   Ltd.
37   shxsgroup.en.alibaba.com                Shanghai Xiangsheng Trade Co., Ltd.
38   startravel.en.alibaba.com               Wenzhou Star Travel Trading Co., Ltd.
39   suopin.en.alibaba.com                   Shenzhen Suopin Technology Co., Ltd.
                                             Quanzhou Yuanshang Grass Trading Co.,
40 todomore.en.alibaba.com                   Ltd.
                                             Quanzhou Uniyang Imp&Exp Trade Co.,
41   uniyang.en.alibaba.com                  Ltd.
42   withoff.en.alibaba.com                  Ruian Guangyuan Trading Co., Ltd.
43   wowholo.en.alibaba.com                  Yiwu Wowholo Technology Co., Ltd.
44   wuhushoes.en.alibaba.com                Wangdu Wuhu Trading Co., Ltd.
                                             Wenzhou Boshiao Imp & Exp Trade Co.,
45 wzbsa.en.alibaba.com                      Ltd.
                                             Wenzhou Johan Import&Export Trading Co.,
46 wzdhshoes.en.alibaba.com                  Ltd.
47 wzhwmy.en.alibaba.com                     Wenzhou Hongwei Trading Co., Ltd.
48 wzmingyi.en.alibaba.com                   wzmingyi.en.alibaba.com
                                             Quanzhou Moqi Culture Development Co.,
49 xiaotengyiliao.en.alibaba.com             Ltd.
50 xinqishoes.en.alibaba.com                 Quanzhou Xinqi Trading Co., Ltd.
                                             Wenling Houshen Import And Export Co.,
51   yuanke888.en.alibaba.com                Ltd.
52   ywhengzun.en.alibaba.com                Yiwu Hengzun Import And Export Co., Ltd.
53   ywkana.en.alibaba.com                   Yiwu Kana E-Commerce Firm
54   ywzhihua.en.alibaba.com                 Yiwu Zhihua Trade Co., Ltd.
                                             Quanzhou Zuju Youpin Shoes And Clothing
55 zujuyoupin.en.alibaba.com                 Co., Ltd.
                                             Quanzhou Yudong Electronic Commerce
56 zyen.en.alibaba.com                       Co., Ltd.
                                             Zhangzhou Yolaike Network Technology
57   zzyoulike.en.alibaba.com                Co., Ltd.
58   aliexpress.com/store/1196828            YYW SPORTING Store
59   aliexpress.com/store/1250127            Vovacom Store
60   aliexpress.com/store/2251003            Redheavenstar Store
61   aliexpress.com/store/2901072            Lizzzzard Store
62   aliexpress.com/store/2962286            Cosicon Store
63   aliexpress.com/store/3091103            Babaya Footwear Store
64   aliexpress.com/store/3103085            ZOO Store
65   aliexpress.com/store/3198060            Aunt boutique Store

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 66   aliexpress.com/store/3362020           XGRAVITY Official Store
 67   aliexpress.com/store/3588003           Cytor Skates Store
 68   aliexpress.com/store/418622            Alice's Cosy Life Store
 69   aliexpress.com/store/4432204           xixili Store
 70   aliexpress.com/store/4648141           Shining Stone Official Store
 71   aliexpress.com/store/4990449           SIMPLEXEVER Official Store
 72   aliexpress.com/store/5362095           Affordable shoe Store
 73   aliexpress.com/store/5370240           Shop5370240 Store
 74   aliexpress.com/store/5486256           Shop5486256 Store
 75   aliexpress.com/store/5496172           Shop5496172 Store
 76   aliexpress.com/store/5513035           lisujie Store
 77   aliexpress.com/store/5592424           Skates Store
 78   aliexpress.com/store/5597296           Son of Light Store
 79   aliexpress.com/store/5619081           XY Cos Costume Store
 80   aliexpress.com/store/5627134           Zilingo Store
 81   aliexpress.com/store/5630144           L Zhi Store
 82   aliexpress.com/store/5725036           YAFUKANO Store
 83   aliexpress.com/store/5727184           Aliplay Store
 84   aliexpress.com/store/5735065           Shop5735065 Store
 85   aliexpress.com/store/5783558           Shop5783558 Store
 86   aliexpress.com/store/5842212           Shop5842212 Store
 87   aliexpress.com/store/5878127           UVRCOS Global Dropshipping Store
 88   aliexpress.com/store/5888850           Shop5888850 Store
 89   aliexpress.com/store/900250413         RANMO MG Store
 90   aliexpress.com/store/900250452         Dropship-006 Store
 91   aliexpress.com/store/910367388         LTXiXi Offlcial Store
 92   aliexpress.com/store/910372332         QiShan Store
 93   aliexpress.com/store/910429022         TENNYALEN LH COS Store
 94   aliexpress.com/store/910715101         Ali_Welcome Store
 95   aliexpress.com/store/910770020         katidai Store
 96   aliexpress.com/store/910966057         Shop910966057 Store
 97   aliexpress.com/store/910987081         Shop910987081 Store
 98   aliexpress.com/store/911057235         Toprincess products Store
 99   aliexpress.com/store/911065077         Shop911065077 Store
100   aliexpress.com/store/911109128         Shop911109128 Store
101   aliexpress.com/store/911124085         Shop911124085 Store
102   aliexpress.com/store/911223010         Anime Timing Store
103   aliexpress.com/store/911257071         Shop911257071 Store
104   aliexpress.com/store/911329084         Shop911329084 Store
105   aliexpress.com/store/911599860         ManCang Store
106   aliexpress.com/store/911712335         Tic-Young Store
107   aliexpress.com/store/911753744         BOGUO369 Store
108   aliexpress.com/store/911830483         Trendy shoe bag Store

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109   aliexpress.com/store/911929412         SSHQO Canton Store
110   aliexpress.com/store/911930949         Li tongtong Store
111   aliexpress.com/store/912073136         PEKO Backpack Factory Store
112   aliexpress.com/store/912135013         Woshinimendie Store
113   aliexpress.com/store/912161146         search Store
114   aliexpress.com/store/912162076         SHOESSHOP Store
115   aliexpress.com/store/912181919         DBLBAO Shoe Store
116   aliexpress.com/store/912230002         sanduohua Store
117   aliexpress.com/store/912243003         MaKuo Store
118   aliexpress.com/store/912257545         GuoFuDiYi NvXie Store
119   aliexpress.com/store/912262579         Very beautiful fashionable Store
120   aliexpress.com/store/912263378         Suker Store
121   aliexpress.com/store/912265429         muyguay Store
122   aliexpress.com/store/912270599         RICER Store
123   aliexpress.com/store/912271679         912271679 Store
124   aliexpress.com/store/912332156         Demie B Store
125   aliexpress.com/store/912340906         MLFYC Store
126   aliexpress.com/store/912348710         Good shoe store Store
127   aliexpress.com/store/912368342         DcLyy Store
128   aliexpress.com/store/912370969         wangwuer Store
129   aliexpress.com/store/912403414         meiliang Store
130   aliexpress.com/store/912407966         fangpu Store
131   aliexpress.com/store/912408483         Vines Store
132   aliexpress.com/store/912418750         Hudada888 Store
133   aliexpress.com/store/912458185         Jiangjunshan Shoe Store Store
134   aliexpress.com/store/912467841         YIAN Store
135   aliexpress.com/store/912469002         chao xie chao fu Store
136   aliexpress.com/store/912470161         Anime_ Store
137   aliexpress.com/store/912488124         Forward Courageously Store
138   aliexpress.com/store/912500748         WZSD888 Store
139   aliexpress.com/store/912513016         NO00009 Store
140   amazon.com/sp?seller=A1168CHHX875V8    TerryVictor Veblen
141   amazon.com/sp?seller=A1321ABKNZ9C32    longfengtao
142   amazon.com/sp?seller=A1439OY625JVYO    HaiLongDianZiChanPinDian
143   amazon.com/sp?seller=A165R4MAGSA91D    caiyunzhinan
                                             nanpingshijianyangqubaixiaoshunbaihuoshan
144   amazon.com/sp?seller=A17KSZ9EFC67FC    ghang
145   amazon.com/sp?seller=A17RFUF4C6T834    zechengbaihuo
146   amazon.com/sp?seller=A185ITIVGBI7KL    sibosi
147   amazon.com/sp?seller=A1BII502KS3L3F    erhuStore
148   amazon.com/sp?seller=A1ICK8MCLYA7CW    ermuchenglin
149   amazon.com/sp?seller=A1MFCFQMIQJW82    PatrickRyan
150   amazon.com/sp?seller=A1OX7LU6KK1IPB    sanmenxiashihubinqumeidabaihuodian


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151   amazon.com/sp?seller=A1R9W2HQ4OFKHH          qingzhuodianliao
152   amazon.com/sp?seller=A1S1ZS7M1476CJ          melodaytop
153   amazon.com/sp?seller=A1XBP0X4W3D6LE          Vivian Aurora Joyce
154   amazon.com/sp?seller=A260FTUAJOX81V          Casey Henry Natalia
155   amazon.com/sp?seller=A2CLI13QRBRX5L          TengDaTiYuYP
156   amazon.com/sp?seller=A2DXGWGE4TLDF6          lichengqukai
157   amazon.com/sp?seller=A2I34CBXUUF6C6          staring lucy
158   amazon.com/sp?seller=A2I4KUHOWUAM0L          xisaishanquxiquedianzi
159   amazon.com/sp?seller=A2I4OB08GLA4PQ          A2I4OB08GLA4PQ
160   amazon.com/sp?seller=A2IPVQV7LXLK0R          A2IPVQV7LXLK0R
161   amazon.com/sp?seller=A2JJ68Z8RKQ679          dasuygggs25e
                                                   Pu Tian Shi Zhi Ben Gao Mao Yi You Xian
162   amazon.com/sp?seller=A2JMG54OQYDS49          Gong Si
163   amazon.com/sp?seller=A2MJBTKBP4TP6W          AU&MU
164   amazon.com/sp?seller=A2N1IYMCD0IF3X          LcHongZhuo
165   amazon.com/sp?seller=A2P6GYR5065J2B          HUmEierSI
166   amazon.com/sp?seller=A2W6300QWTGM2U          WEIYANG
167   amazon.com/sp?seller=A35E8S7KCGDERO          daixianronglebaihuozhan
168   amazon.com/sp?seller=A36ALKGLPL4PHM          Jessica Laraine
169   amazon.com/sp?seller=A38V5RHYDWCUHD          nanfengxiansenmanshixiaoshoubu
170   amazon.com/sp?seller=A396BMH1J9MR6Q          A396BMH1J9MR6Q
171   amazon.com/sp?seller=A3G30VLPWKIJWU          xinjiade
172   amazon.com/sp?seller=A3JRAOJNT14JVQ          Robert AaronLilyAustin
173   amazon.com/sp?seller=A3LDQXS3M50PNU          kaitlynandrea judith
174   amazon.com/sp?seller=A3O6OCH0EBWKTC          Hebe IvyJanet
175   amazon.com/sp?seller=A3O6SQS50PHQWF          TooBetter
176   amazon.com/sp?seller=A3Q8W5A9J3BHSZ          Ban Lu Shang Mao You Xian Gong Si
177   amazon.com/sp?seller=A3R141OOU8YC8O          Fan Qi Shang Mao You Xian Gong Si
178   amazon.com/sp?seller=A609GM977FSVD           HaoWenjun
                                                   Shanxizhuanxingzonggaishifanquxuefuyuanq
179   amazon.com/sp?seller=A7NM3OYTU380I           ujinfengdi
180   amazon.com/sp?seller=A96TDXBCARFX0           Darcy Rachel Sylvia Moira
181   amazon.com/sp?seller=AAZ752STDRR96           ASH FOOTWEAR
182   amazon.com/sp?seller=AFRUP8FIR5S4N           The coffeedomain
183   amazon.com/sp?seller=AHAXJDT8Y4QZ9           AELODGE
184   amazon.com/sp?seller=ALRDJB5OLLUC3           ALSYIQI-US
185   amazon.com/sp?seller=AP1W3RJPSDIY9           ganzhoumudijiajuyouxiangongsi
186   amazon.com/sp?seller=AR4J27D7DRUUR           KalikaTallulah KT
187   amazon.com/sp?seller=AUQ5JY24KLTFD           LongHuaMeiJiaJianZhu
188   amazon.com/sp?seller=AWIAY6U423KSE           New beginning-vip
189   ebay.com/usr/nishihaozhang                   nishihaozhang
190   wish.com/merchant/5b0f8f612c3c1d240b34ed4c   shijiebowuleiniu



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